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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )   CASE NO. 1:11-CR-00376WI-DLB
                                             )
12                        Plaintiff,         )   STIPULATION AND
                                             )   ORDER FOR CONTINUANCE OF STATUS
13   v.                                      )   CONFERENCE
                                             )
14   ERNESTO SALGADO-GUZMAN,                 )
     DEMETRIO CORTEZ-SALGADO,                )
15   ZEFERINA SALGADO GUZMAN DE              )
     CORTEZ,                                 )
16   VICTORINO EPIFANIO BAZANTE              )
     PACHECO, and
17   FLORENCIO MORALES-SOLANO,
18                        Defendants.
19         IT IS HEREBY STIPULATED by and between Benjamin B. Wagner,
20   United States Attorney and Kimberly A. Sanchez, Assistant U.S.
21   Attorney and Yan Shrayberman, attorney for Ernesto Salgado-Guzman,
22   Mark Coleman, attorney for Demetrio Cortez-Salgado, Roger Bonakdar,
23   attorney for Zeferina Salgado Guzman de Cortez, Roger Litman,
24   attorney for Victorino Epifanio Bazante Pacheco, and Hadi Ty Kharazi,
25   attorney for Florencio Morales-Solano, that the status conference set
26   for May 14, 2012 at 1:00 pm be continued to June 11, 2012 at 1:00 pm.
27   The undersigned Assistant U.S. Attorney has a family crisis for which
28   she needs to travel out of state and will not be available on May 14,

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 1   2012, and the parties believe that additional time will be necessary
 2   to engage in further plea negotiation discussions.          The parties
 3   further request the Court to enter an Order finding that the "ends of
 4   justice" served by a continuance outweigh the interest of the public
 5   and the defendant in a speedy trial, and that the delay occasioned by
 6   such continuance is excluded from the Act's time limits pursuant to
 7   18 U.S.C. § 3161(h)(7)(A).
 8
     Dated: May 7, 2012                      Respectfully submitted,
 9
                                             BENJAMIN B. WAGNER
10                                           United States Attorney
11
                                       By     /s/ Kimberly A. Sanchez
12                                           KIMBERLY A. SANCHEZ
                                             Assistant U.S. Attorney
13
     Dated: May 7, 2012                      /s/ Yan Shrayberman
14                                           YAN SHRAYBERMAN
                                             Attorney for Ernesto Salgado-
15                                           Guzman
16   Dated: May 7, 2012                      /s/ Mark Coleman
                                             MARK COLEMAN
17                                           Attorney for Demetrio Cortez-
                                             Salgado
18
     Dated: May 7, 2012                      /s/ Roger Bonakdar
19                                           ROGER BONAKDAR
                                             Attorney for Zeferina Salgado
20                                           Guzman de Cortez
21   Dated: May 7, 2012                      /s/ Roger Litman
                                             ROGER LITMAN
22                                           Attorney for Victorino Bazante
                                             Pacheco
23
     Dated: May 7, 2012                      /s/ Hadi Ty Kharazi
24                                           HADI TY KHARAZI
                                             Attorney for Florencio Morales-
25                                           Solano
26        For the reasons set forth above, the continuance requested by
27   the parties is granted for good cause and time is excluded under the
28   Speedy Trial Act from May14, 2012 to, and including, June 11, 2012,

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 1   based upon the Court’s finding that the ends of justice outweigh the
 2   public’s and the defendant’s interest in a speedy trial. 19 U.S.C. §
 3   3161(h)(7)(A).
 4            IT IS SO ORDERED.
 5             Dated:   May 10, 2012              /s/ Dennis L. Beck
     3b142a                                 UNITED STATES MAGISTRATE JUDGE
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